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                           UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF OKLAHOMA

   (1) JOSEPH VICKERS,                             )
                                                   )
                  Plaintiff,                       )
                                                   )
   v.                                              )    Case No.: 18-CV-52-TCK-FHM
                                                   )    (formerly Tulsa County District Court
   (1) JORDAN RUSSELL RAHMAN, and                  )    Case No.: CJ-2017-884)
                                                   )
   (2) PROGRESSIVE NORTHERN                        )
      INSURANCE COMPANY,                           )
                                                   )
                  Defendants.                      )

                                      NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1441 and 1446, the Defendant, Progressive Northern Insurance

   Company (“Progressive” or “Defendant”), hereby removes the state court action, Joseph Vickers v.

   Jordan Russell Rahman, and Progressive Northern Insurance Company, Case No. CJ-2017-884,

   from the District Court of Tulsa County, State of Oklahoma, to this Court. Pursuant to LCvR 81.2,

   a copy of the State Court Docket Sheet as well as all documents filed or served in the State Court

   action are attached hereto as EXHIBITS 1-57.

          The removal of this case to federal court is based on the following:

                                       FACTUAL BACKGROUND

          1.      This lawsuit arises out of an automobile accident that occurred on January 10, 2015,

   between Plaintiff, Joseph Vickers (“Plaintiff”), and Jordan Russell Rahman (“Rahman”). (See

   Amended Petition, EXHIBIT 9.)

          2.      Plaintiff alleges that Rahman “negligently, carelessly and without warning [drove]

   a motor vehicle into the Plaintiff’s vehicle.” (See Amended Petition, ¶ 10, EXHIBIT 9.)
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          3.      According to Plaintiff, as a result of the subject accident, he “suffered personal injury

   to his knee, upper back and neck.” (See Amended Petition, ¶ 13, EXHIBIT 9.)

          4.      Plaintiff claims that as a result of the subject accident, the underinsured motorist

   coverage issued to him by Progressive was triggered. (See Amended Petition, ¶¶ 16-18, EXHIBIT 9.)

          5.      According to Plaintiff, “Progressive improperly and wrongfully and in bad faith

   breached its contract with Plaintiff and denied Plaintiff’s UM claim in material part.” (See Amended

   Petition, ¶ 19, EXHIBIT 9.)

          6.      On March 7, 2017, Plaintiff filed the present lawsuit against Rahman and Progressive.

   (See Petition, filed March 7, 2017, EXHIBIT 2.)

          7.      On May 11, 2017, Plaintiff filed his Amended Petition. Plaintiff asserted a common

   law negligence claim against Rahman. Plaintiff asserted claims for breach of contract and bad faith

   against Progressive. (See generally, Amended Petition, filed May 11, 2017, EXHIBIT 9.)

          8.      In his Amended Petition, Plaintiff “prays for judgment against the Defendant

   Progressive in an amount in excess of $75,000.00 as and for general and special damages; as well

   as punitive damages against the Defendant in an amount in excess of $75,000.00, together with pre-

   judgment and post-judgment interest, attorney fees, costs, and any other relief this Court deems just

   and equitable.” (See Amended Petition, p. 6, EXHIBIT 9.)

          9.      On or about January 19, 2018, Progressive was informed that Plaintiff had accepted

   a settlement offer made by Rahman. Specifically, on January 19, 2018, Rahman’s counsel sent the

   following correspondence to counsel for the parties involved:

                  Hello John ~

                  Thank you for your acceptance of our last offer. We didn’t discuss it,
                  but I’m assuming that means that my client’s deposition, currently
                  scheduled for January 26, 2018, will NOT happen. I’ve cc’d Brad on
                  this as well, to make sure we are all in agreement that my client has

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                   no further obligations and is not needed in any continued litigation on
                   this matter.

                   Please confirm so I can let him know.

                   Reign Karpe, Attorney
                   Angela D. Ailles and Associates
                   Employees of the Law Department
                   State Farm Mutual Automobile Insurance Company
                   Office: (405) 475-9707
                   Direct Line: (405) 419-2657
                   Fax: 1-855-396-2580

   (Email correspondence from R. Karpe, dated January 19, 2018, EXHIBIT 58.)

           10.     Subsequently, Plaintiff’s counsel confirmed the settlement. (See Email

   correspondence from J. Thetford, dated January 19, 2018, EXHIBIT 59.)

                                              JURISDICTION

           11.     “‘Federal courts are courts of limited jurisdiction. They possess only the power

   authorized by the Constitution and statute . . . .’” Rasul v. Bush, 542 U.S. 466 (2004) (quoting

   Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994)). For a federal court to

   have original jurisdiction over a case or controversy, there must exist a federal question or diversity

   jurisdiction.

           12.     At the time the Petition was filed, federal question jurisdiction did not exist.

   Specifically, there were no allegations that the Constitution or any federal statute had been violated.

   (See generally, Petition, EXHIBIT 2.)

           13.     However, as shown below, pursuant to 28 U.S.C. § 1332(a)(2), this action is a civil

   action over which this Court has original jurisdiction. The real-parties in interest are citizens of

   different states and the matter in controversy exceeds $75,000.00, exclusive of interest and costs.




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                                    THE AMOUNT IN CONTROVERSY

          14.     The Tenth Circuit has explained “[t]he right of removal depends upon the case

   disclosed by the pleadings when the petition therefore is filed.” Woerter v. Orr, 127 F.2d 969 (10th

   Cir. 1942). As disclosed by the pleadings, Plaintiff is seeking damages in excess of $75,000.00 from

   Progressive.

          15.     Specifically, Plaintiff’s Amended Petition “prays for judgment against the Defendant

   Progressive in an amount in excess of $75,000.00 as and for general and special damages; as well

   as punitive damages against the Defendant in an amount in excess of $75,000.00, together with pre-

   judgment and post-judgment interest, attorney fees, costs, and any other relief this Court deems just

   and equitable.” (See Amended Petition, p. 6, EXHIBIT 9.)

          16.     Based on the foregoing, the amount in controversy requirement of § 1332 is met.

                                  THE CITIZENSHIP OF THE PARTIES

          17.     According to Plaintiff’s Petition, at the time of filing, he was a resident of the State

   of Oklahoma. (See Petition, ¶ 1, EXHIBIT 2; Amended Petition, ¶ 1, EXHIBIT 9.) Therefore, upon

   information and belief, Plaintiff is a citizen of the State of Oklahoma.

          18.     Upon information and belief, at the time of filing, Rahman was a resident of the State

   of Oklahoma. (See Petition, ¶ 2, EXHIBIT 2; Rahman’s Answer, ¶ 5, EXHIBIT 4; Amended Petition,

   ¶ 2, EXHIBIT 9.) Therefore, Rahman is believed to be a citizen of the State of Oklahoma. However,

   as noted above, Plaintiff has settled his claim against Rahman. Thus, at this time, Rahman is a

   nominal party and may be disregarded for purposes of diversity jurisdiction.

          19.     For purposes of diversity jurisdiction, a corporation shall be deemed a citizen of any

   State by which it has been incorporated and the State where it has its principal place of business.

   See 28 U.S. 1332(c). While Congress did not define “principal place of business,” the Supreme


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   Court has held that a corporation’s principal place of business is presumed to be the place of the

   corporation’s “nerve center.” Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010).

          20.     At the time of filing, Progressive was a foreign corporation, incorporated under the

   laws of the State of Wisconsin with “nerve center” or “principal place of business” in Ohio. (See

   Annual Statement of Progressive Northern Insurance Company, EXHIBIT 60.) Thus, Progressive is

   deemed to be a citizen of the States of Wisconsin and Ohio. Progressive was not a citizen of the

   state of Oklahoma.

          21.     When this lawsuit was filed, it was not removable because complete diversity did not

   exist. However, Plaintiff has settled his claims against Rahman, the non-diverse Defendant.

          22.     Title 28 U.S.C. § 1446, provides in pertinent part:

                  [I]f the case stated by the initial pleadings is not removable, a notice
                  of removal may be filed within 30 days after receipt by the defendant,
                  through service or otherwise, of a copy of an amended pleading,
                  motion, order or other paper from which it may first be ascertained
                  that the case is one which is or has become removable.

          23.     As the Tenth Circuit has explained, “in determining the question of diversity we look

   to the citizenship of the real parties in interest[.]” Becker v. Angle, 165 F.2d 140, 142 (10th Cir.

   1927); see also Cunningham v. EHP Petroleum Great Britain PLC, 427 F.3d 1238, 1244 (10th Cir.

   2005); Charles v. GEICO General Ins. Co., 2006 WL 1096599 (D. Alaska); Hann v. City of Clinton

   Okl., ex rel. Schuetter, 131 F.2d 978, 981 (10th Cir. 1942) (“In determining the question whether

   diversity of citizenship requisite to jurisdiction exists, a court looks to the citizenship of the real

   parties in interest, and where there is complete diversity between them, the presence of a nominal

   party with no real interest in the controversy will be disregarded.”); Strotek Corp v. Air

   Transportation Ass’n of Am., 300 F.3d 1129, 1133 (9th Cir. 2002) (“Defendants who are nominal




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   parties with nothing at stake may be disregarded in determining diversity, despite the propriety of

   their technical joinder.”)

           24.     Although Plaintiff has not dismissed Rahman from this lawsuit, the Court need not

   rely on actions taken by a plaintiff following a voluntary settlement with the non-diverse defendant,

   as they are irrelevant for jurisdiction. See Turley v. Stilwell, 2011 WL 1104543, at *6 (N.D. Okla.

   March 22, 2011). Upon Plaintiff’s acceptance of Rahman’s settlement offer, Rahman is no longer

   a real-party in interest. Therefore, he is not considered for purposes of diversity jurisdiction. See

   Becker, 165 F.2d at 142. In other words, this lawsuit became removable the moment Plaintiff

   accepted Rahman’s settlement offer. See Turley, 2015 WL 1104543, at *9.

           25.     Disregarding the nominal Defendant, Rahman, the complete diversity requirement

   of § 1332 is met.

                             RAHMAN’S CONTINUED JOINDER IS FRAUDULENT

           26.     As a result of Plaintiff’s settlement with Rahman, he can also be disregarded as

   fraudulently joined for the sole purpose of destroying diversity.1

           27.     Any Defendant who has been improperly or fraudulently joined must be ignored for

   diversity purposes. Smoot v. Chicago, R.I. & P.R. Co., 378 F.2d 879, 882 (10th Cir. 1967). Despite

   the nomenclature, fraudulent joinder “does not reflect on the integrity of the plaintiff or counsel, but

   exists regardless of the plaintiff’s motives when the circumstances do not offer any other justifiable

   reason for joining the defendant.” Wolf Creek Nuclear Operating Corp. v. Framatome ANP, Inc.,

   416 F. Supp. 2d 1081, 1085 (D. Kan. 2006). The reason for this doctrine is that a plaintiff who joins

   a non-diverse defendant with the sole purpose of defeating removal is acting unfairly toward the


           1
           Progressive recognizes that relatively little time has elapsed since it received notice of Plaintiff’s
   settlement with Rahman. However, for the reasons discussed below and out of an abundance of caution,
   Progressive raises the present fraudulent joinder argument.

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   non-diverse defendant, who should not be a party, and to the diverse defendant, whose statutory right

   is unjustly prohibited. Wilson v. Republic Iron & Steel, 257 U.S. 92, 98, 42 S. Ct. 35, 37-38, 66 L.

   Ed. 144 (1921).

          28.     As the removing party, a defendant bears the burden of establishing that jurisdiction

   is proper. Martin v. Franklin Capital Corp., 251 F.3d 1284, 1290 (10th Cir. 2001). Assuming that

   the requisite amount in controversy can be satisfied, a removing defendant does not have to show

   that the plaintiff committed outright “fraud” in pleading the jurisdictional facts. Rather, the

   removing defendant can simply show that there is no real possibility of recovery against the non-

   diverse defendant. Dodson v. Spiliada Maritime Corp., 951 F.2d 40, 42-43 & n. 3 (5th Cir. 1992).

          29.     In Slover v. The Equitable Variable Life Ins. Co., 443 F.Supp.2d 1272 (N.D.Okla.

   2006), the court discussed the protocol for situations in which a defendant believes that non-diverse

   co-defendants have been improperly joined:

                  Because Defendants have alleged fraudulent joinder, the Court may
                  pierce the pleadings. Hale v. MasterSoft Int’l Pty. Ltd., 93 F.Supp.2d
                  1108, 1113 (D.Colo. 2000). Thus, the Court may consider certain
                  underlying facts--such as the insurance policy at issue here--to
                  determine whether the non-diverse parties are proper. Smoot v. Chi.,
                  Rock Island & Pac. R.R., 378 F.2d 879, 882 (10th Cir.1967) (“[U]pon
                  specific allegations of fraudulent joiner the court may pierce the
                  pleadings, consider the entire record, and determine the basis of
                  joinder by any means available.”) (Internal citations omitted). The
                  standard, however, is stringent, and the Court must resolve any
                  ambiguities in Plaintiffs’ favor. Martin, 251 F.3d at 1289-90
                  (“[R]emoval statutes are construed narrowly; where plaintiff and
                  defendant clash about jurisdiction, uncertainties are resolved in favor
                  of remand.”) (quoting Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095
                  (11th Cir.1994)).

   Id. at 1276. This Court went on to say:

                  “If outright fraud in the pleading of jurisdictional facts cannot be
                  proven, the question becomes more closely akin to that of whether
                  the plaintiff has properly stated a claim upon which relief may be
                  granted under Fed.R.Civ.P. 12(b)(6). See Frontier Airlines, Inc. v.

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                   United Air Lines, Inc., 758 F.Supp. 1399, 1404 (D.Colo. 1989); Fine
                   v. Braniff Airways, Inc., 302 F.Supp. 496, 497 (W.D.Okla. 1969).

   Id. at 1278 -1279 (emphasis added). The Slover court concluded by making the succinct but

   meaningful observation that, “if the plaintiff clearly cannot maintain a state law claim against the

   non-diverse defendant . . . such defendant shall be considered fraudulently joined.” Id. at 1279.

             30.   Settlement agreements are contracts. See Russell v. Bd of Cnty Comm’rs, 1 P.3d 442,

   443 (Okla. Ct. App. 2000); Rader v. Farmers Insurance Co., Inc., 934 P.2d 332, 334 (Okla. 1997);

   Corbett v. Combined Commc’n Corp. of Okla., Inc., 654 P.2d 616, 617 (Okla. 1982). Oklahoma law

   defines a contract as an “agreement to do or not to do something.” 15 O.S. § 1.

             31.   Settlement agreements may be written or oral. Russell, 1 P.3d at 443 (citing 15A Am.

   Jur.2d Compromise and Settlement, § 10); see also E. Cent Okla. Elec. Co-op., Inc. v. Okla. Gas &

   Elec. Co., 505 P.2d 1324, 1328 (Okla. 1973); Mid-Continent Petroleum Corp. v. Russell, 173 F.2d

   620, 622 (10th Cir. 1949); Vela v. Hope Lumber Supply Co., 966 P.2d 1196 (Okla. Ct. App. 1995).

   A verbal settlement agreement contains the implied promise to sign a written agreement. Coulter

   v. Carewell Corp., 21 P.3d 1078, 1083 (Okla. Ct. App. 2001); see also Harris v. Ray Johnson Const.

   Co., Inc., 534 S.E.2d 653, 655 (N.C. Ct. App. 2000) (finding the attorney’s acceptance “necessarily

   contained the implied promise to execute some instrument terminating the controversy as to that

   settling defendant, namely, the stipulation to dismiss the case with prejudice and release of claims

   form”).

             32.   Parties can be bound to an agreement reached by their attorneys when the attorney

   has authority as an agent of his principal-client to enter into settlement agreements on behalf of the

   client. Ginner & Miller Pub. Co. v. N.S. Sherman Machine & Iron Works, 220 P. 650 (Okla. 1923);

   Boyd v. Larko-Industrial Painting Corp., 356 F.Supp. 917, 923 (W.D. Ark. 1973); Interior Credit

   Bureau, Inc. v. Bussing, 559 P.2d 104, 105-06 (Alaska 1977); Sheffield Poly-Glaze, Inc. v. Humboldt

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   Glass Co., 356 N.E.2d 837, 840 (Ill. App. 1976). Moreover, once an offer is accepted, the offer may

   not be revoked. Restatements (Second) of Contracts § 42 cmt. c (1981) (stating “[o]nce the offeree

   has exercised his power to create a contract by accepting the offer, a purported revocation is

   ineffective as such.”); see also Conference Am., Inc. v. Conexant Sys., Inc., 508 F.Supp.2d 1005, 108

   (M.D. Ala. 2007) (“Except in a small minority of jurisdictions with contrary statutes, ‘it is

   universally settled that a revocation requires communication and that, therefore, an acceptance made

   prior to a communicated revocation will create a binding contract.’” (quoting Richard A. Lord,

   Williston on Contracts § 5:9)); Woods ex rel. Woods v. Cory, 192 S.W.3d 450, 459 (“To be effective,

   revocation of an offer must be communicated to the offeree before he has accepted.”).

           33.     In Turley, supra, a situation similar to the present matter was presented to this Court.

   In that case, the plaintiff was involved in an automobile accident. The plaintiff filed suit against the

   tortfeasor and his insurer. The parties eventually mediated the matter, which resulted in a settlement

   agreement between the plaintiff and the tortfeasor. However, the plaintiff refused to sign the

   settlement agreement or file a dismissal until he finalized negotiations with medicare.

   Approximately four months after the mediation was completed, the insurer removed the case to

   federal court asserting the tortfeasor’s presence was attributable to fraudulent joinder, and therefore,

   the tortfeasor could be disregarded for purposes of diversity jurisdiction.

           34.     The Court agreed with the insurer. But, ultimately, remanded the case concluding the

   insurer’s removal was untimely. In doing so, the court reasoned:

                   Under Oklahoma law, a “settlement agreement is a contract between
                   the parties and it will be enforced absent fraud, duress, undue
                   influence, or mistake.” Coulter v. Carewell Corp. of Okla., 21 P.3d
                   1078, 1082 (Okla.Civ.App.2001); see also Ray, 2009 WL 2175971,
                   at * 4 (under Oklahoma law, “court approval is not required for
                   normal settlement agreements to become final and enforceable”).
                   Thus, “[i]n the construction of settlement agreements, the Oklahoma
                   Supreme Court has held [that] [i]f the language of a contract is clear

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                   and without ambiguity, the court is to interpret it as a matter of law.
                   In the absence of fraud or mistake, an executed agreement of
                   settlement is as conclusive against a party seeking to avoid it as the
                   final judgment of a court of competent jurisdiction.” Vela v. Hope
                   L umber & S u p p l y C o . , 9 6 6 P . 2 d 1 1 9 6 , 1198
                   (Okla.Civ.App.1998)(internal quotations omitted). The rules
                   governing settlement agreements apply equally to mediation
                   agreements. Id. The existence of a contract is a question of fact, and
                   the “sine qua non of a binding contract” in Oklahoma is agreement on
                   all material terms. GET, LLC v. City of Blackwell, No. 10–6068, 2011
                   WL 103033, at * 1 (10th Cir.2011). Although Stilwell has not yet
                   fulfilled the terms of payment stipulated under the contract, full
                   performance is not required under Oklahoma law before a mediation
                   agreement becomes enforceable. E.g., Vela, 966 P.2d at 1197–99
                   (enforcing mediation agreement in the face of plaintiff’s refusal to
                   comply with certain terms of the agreement).

   Id. at *7.

           35.     This Court continued:

                   Here, the mediation agreement appears to set forth all material terms
                   of Turley and United’s release of claims as to Stilwell. As neither
                   party has made a showing of fraud, duress, undue influence, or
                   mistake, the mediation agreement is an enforceable contract under
                   Oklahoma law. Thus, if the need to enforce the mediation agreement
                   arises, means to do so exist outside the current litigation. See
                   Hanahan, 518 F.Supp.2d at 786. Therefore, after the signing of the
                   mediation agreement, Stilwell was no longer a party in interest to the
                   litigation. Upon the elimination of Stilwell as a party in interest, the
                   case became removable on the basis of diversity jurisdiction, and the
                   thirty-day removal period began to run from the date that the
                   mediation agreement was signed.

   Id. at *8.

           36.     Finally, although the this Court did not consider the insurer’s fraudulent joinder

   argument in its ruling, it stated, in a footnote, that:

                   In support of its claim, United cites Smoot v. Chicago, R.I. & P.R.
                   Co., 378 F.2d 879 (10th Cir.1967), for the proposition that the
                   “continued joinder” of a party is fraudulent where it “serves only to
                   frustrate federal jurisdiction.” Dkt. # 2, at 6. In Smoot, the Tenth
                   Circuit noted with approval the district court's refusal to remand a
                   case for lack of complete diversity where the non-liability of the

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                     remaining nondiverse party had been “conclusively established,” and
                     his “continued joinder” was therefore fraudulent. 378 F.2d at 882.
                     Smoot supports the holding herein that this case was removable as
                     soon as the nondiverse party’s status was conclusively established by
                     the mediation agreement.

   Id. at *9 n. 7.

           37.       As in Turley, Plaintiff has accepted Rahman’s offer to settle his claims. (See Email

   correspondence from R. Karpe, dated January 19, 2018, EXHIBIT 58; Email correspondence from

   J. Thetford, dated January 19, 2018, EXHIBIT 59.) It is Progressive’s understanding that at this time,

   Plaintiff has not executed a formal Settlement Agreement. (See Email Correspondence from R.

   Karpe, dated January 19, 2018, EXHIBIT 58.) However, under Oklahoma law, the acceptance of a

   settlement offer does not need to be in writing. A settlement offer may be accepted orally. And, a

   party is bound by an agreement reached by his attorney.

           38.       As evidenced by Rahman’s counsel’s email of January 19, 2018, Plaintiff has entered

   into a settlement agreement with Rahman, the non-diverse Defendant. As in Turley, the Court

   should conclude that as a result of Plaintiff’s acceptance of Rahman’s settlement offer, Rahman is

   no longer real-parties in interest. Thus, Rahman’s “continued joinder” would only serve to frustrate

   federal jurisdiction and would be fraudulent.

                            PROGRESSIVE’S REMOVAL IS TIMELY AND PROPER

           39.       Pursuant to 28 U.S.C. § 1446(b), this Notice is timely filed with this Court. Thirty

   days have not elapsed since Progressive learned of Plaintiff’s settlement with Rahman. (See Email

   correspondence from R. Karpe, dated January 19, 2018, EXHIBIT 58; Email correspondence from

   J. Thetford, dated January 19, 2018, EXHIBIT 59.) Additionally, one year has not elapsed since the

   commencement of this action. (See generally, Petition, EXHIBIT 2.)




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          40.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal

   will be served on counsel for Plaintiff, the adverse party. Additionally, Progressive will serve

   Rahman with a copy and a copy will be filed with the Clerk of the District Court in and for Tulsa

   County, State of Oklahoma.

          41.     Title 28 U.S.C. § 1446(a) states that the defendant shall file the Notice of Removal

   in “[t]he District Court of the United States for the district and division within which such action is

   pending.” 28 U.S.C. § 1446(a). The Northern District of Oklahoma includes the District Court in

   and for Tulsa County, State of Oklahoma. 28 U.S.C. 116(c). Therefore, the removal to this Court

   is proper.

          42.     Next, the diversity statutes require that none of the parties served as defendants be

   citizens of the State in which the action is brought. See 28 U.S.C. § 1441(b). Progressive is not a

   citizen of Oklahoma, the State in which this action was brought. Although Rahman is a citizen of

   the State of Oklahoma, he is no longer a real party in interest. Thus, Rahman may be disregarded

   for purposes of diversity jurisdiction. See Becker, 165 F.2d at 142. This requirement is met.

          43.     Finally, § 1446 generally requires that all defendants in multi-defendant cases join

   in the petition for removal or consent to such action. There are, however, exceptions to this rule.

   See McCurtain Cnty. Prod. Corp. v. Cowett, 482 F.Supp. 809, 812 (E.D. Okla. 1978). “An

   improperly joined party is not required to join in the removal petition.” Id. at 813; see also Sycamore

   Family LLC v. Earthgrains Bakery Companies, Inc., No. 2:13-CV-00639-EN, 2013 WL 5883868,

   at *2 & n. 21 (D. Utah Nov. 1, 2013) (collecting cases). Thus, Rahman does not need to join or

   consent to this Removal.




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          WHEREFORE, Defendant, Progressive Northern Insurance Company, removes this action

   from the District Court in and for Tulsa County, State of Oklahoma, to the United States District

   Court for the Northern District of Oklahoma.

                                                         Respectfully submitted,

                                                         s/ Brad L. Roberson
                                                         Brad L. Roberson, OBA No. 18819
                                                         Dawn M. Goeres, OBA No. 21923
                                                         PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
                                                         Robinson Renaissance Building
                                                         119 North Robinson Avenue, 11th Floor
                                                         Oklahoma City, Oklahoma 73102
                                                         Telephone:    405-606-3333
                                                         Facsimile:    405-606-3334
                                                         Email:        brad@pclaw.org
                                                                       dawn@pclaw.org
                                                         ATTORNEYS FOR DEFENDANT,
                                                          PROGRESSIVE NORTHERN
                                                          INSURANCE COMPANY

                                    CERTIFICATE OF SERVICE

           I hereby certify that on January 22, 2018, I electronically transmitted the attached document
   to the Clerk of Court using the ECF System for filing. Based on the records currently on file, the
   Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

          John M. Thetford, Esquire
          Reign Karpe, Esquire

           I hereby certify that on January 22, 2018, I served the same document by U.S. Postal Service
   on the following who is not a registered participant of the ECF system:

          Mr. Don Newberry                               VIA U.S. MAIL
          Tulsa County Court Clerk
          500 South Denver Avenue
          Tulsa, Oklahoma 74103

                                                         s/ Brad L. Roberson
                                                         For the Firm




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